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                                                       Wednesday, 30 October, 2019 10:22:13 PM
                                                                   Clerk, U.S. District Court, ILCD

                      UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                          SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,              )
                                       )
      Plaintiff,                       )
                                       )
      v.                               )     CASE NO: 17-CR-30074-SEM-TSH
                                       )
WEST KINIOKI MPETSHI,                  )
                                       )
      Defendant.                       )

      UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING

   NOW COMES the Defendant, West Kinioki Mpetshi, by his attorney, William L.

Vig, and for his Unopposed Motion to Continue Sentencing Hearing, states as

follows:

   1. This case is currently set before the court for a Sentencing Hearing on

      December 13, 2019, at 1:30 p.m., before the Honorable Sue E. Myerscough.

   2. Due to factors including the availability of the undersigned counsel for

      Defendant, the Defendant was not interviewed by USPO Thomas Brown for

      the presentence investigation until October 22, 2019.

   3. The undersigned has been informed by USPO Thomas Brown that a

      continuance of the sentencing hearing would be strongly advisable to permit

      adequate time to collect information and verifications following the interview

      of Defendant.
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   4. The undersigned has been further informed that USPO Brown has discussed

        this with AUSA Gregory Harris, who has no objection to a continuance of the

        sentencing hearing for this reason.

   5. The undersigned has discussed the above with the Defendant, who

        understands and agrees with seeking a continuance of the sentencing hearing

        for this reason.

   6. This request is made in the interest of fairness and justice and not for the

        purpose of any unreasonable or undue delay.

   WHEREFORE, the Defendant respectfully requests this Honorable Court

continue the previously set Sentencing Hearing for approximately sixty (60) days

and grant any other such and further relief as this Court deems reasonable and

just.         .

                                        Respectfully submitted,

                                        West Kinioki Mpetshi, Defendant


                                  By:   /s/ William L. Vig
                                        Attorney for Defendant



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                           CERTIFICATE OF SERVICE

I hereby certify that on October 30, 2019, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send notification of such
filing to the following:

      Assistant U.S. Attorney Gregory Harris                gregory.harris@usdoj.gov




                                        /s/ William L. Vig
                                        Attorney for Defendant
